RMT:CRH/SME
F.# 2013R01026


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                         X


UNITED STATES OF AMERICA                                  ORDER TO CLOSE
                                                          COURTROOM AND FILE
      - against -                                         DOCUMENTS UNDER SEAL


JOHN DOE,                                                 Docket No.
                                                                         j(f         (^1
                     Defendant.


                                         X


              Upon consideration ofthe joint motion ofthe United States of America and

the defendant JOHN DOE,filed under seal, for an Order: to close the courtroom during the

defendant's arraignment and change of plea hearing, and to seal the transcripts ofthat

proceeding and this Order;

              Having scheduled a public hearing on the motion and notified the public ofthe

hearing by listing the date, time and location of the hearing on the public docket and the

Court's public calendar; and

              Having held a public hearing on the motion at which the parties and any
                                                             .A
intervenors were provided an opportunity to be heard;      J 0^^       ^f
              Based on the submissions ofthe parties,(the Court makes the following
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findings:
                                                                                                  )

              I.      There is a substantial probability that a public proceeding would

prejudice a compelling interest ofthe government in the integrity of significant government
S/ Steven M. Gold, U.S.M.J.
